                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:10-00163
                                                    )       Judge Trauger
LONNIE NEWSOME, et al.                              )

                                          ORDER

       The pending motions to extend the pretrial motion filing deadline (Docket Nos. 750, 751,

753) are GRANTED. The following new deadlines will apply to all defendants in this case:

       1.     Pretrial motions shall be filed by November 7, 2011, with responses due
              November 22, 2011.

       2.     The deadline for the court to be notified that a defendant intends to plead
              guilty is RESET for Friday, December 16, 2011, at 5:00 p.m.

       It is so ORDERED.

       ENTER this 30th day of September 2011.


                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                            U.S. District Judge




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